                        THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


MICHAEL DAVID SILLS          )
and MARY SILLS,              )
                             )
         Plaintiffs,         )
                             )                      CASE NO. 3:23-cv-00478
v.                           )
                             )                      JUDGE WILLIAM L. CAMPBELL, JR.
                             )                      Magistrate Judge Chip Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.                       )                      JURY TRIAL DEMANDED
                             )
         Defendants.         )


                                     NOTICE OF FILING
         The undersigned counsel hereby gives notice that one exhibit was filed with Defendants’

Joint Response to Plaintiffs’ Emergency Motion for Protective Order and to Terminate or

Otherwise Stay the Deposition (D.E. #202). That exhibit is described as follows:

         Exhibit 1: January 29, 2025 Email from Plaintiffs’ Counsel Katherine Riley to
                    Defendants’ Counsel re: Meet and Confer.


                                             Respectfully submitted,

                                             NEAL & HARWELL, PLC


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                                 CERTIFICATE OF SERVICE
       I hereby certify that on this the 3rd day of February, 2025, the foregoing was served via
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